          Case 1:19-cr-00828-ALC Document 105 Filed 11/09/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                 11/9/2020


THE UNITED STATES OF AMERICA,

                          -against-                                   19-CR-00828 (ALC)

DYQUAN CHRISTOPHER,                                                       STATUS
                                                                     CONFERENCE ORDER
                                            Defendant.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        A status conference with the Defendant and defense counsel is scheduled for Thursday,

November 19, 2020, at 10:30 a.m. and will be held telephonically. The Government is invited

but need not attend this conference.

SO ORDERED.




DATED:           November 9, 2020
                 New York, New York
